Case 2:04-cv-02806-SHI\/|-dkv Document 24 Filed 08/19/05 Page 1 of 2 Page|D 25

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IN THE UNITED STATES DISTRICT COURT `~`"" "°

 

FoR THE WESTERN DIsTRICT OF TENNESSEE _
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sYMANTHIA cOOPER, C|£%US'T {S;?:;LMS
Plaintiff,
vs. No. 04-2306-Mav

MEMPHIS AREA MEDICAL CENTER
FOR WOMEN, INC. , ET AL. ,

Defendants.

 

ORDER GRANTING MOTION 'I'O APPEAR PRO HAC VICE’

 

Before the Court is the August ll, 2005, motion for
admission pro hac vice of William Wayne Housley, Jr. Mr. Housley
is a member in good standing of the bar of the state of
Mississippi and is admitted to practice before the Supreme Court
of Mississippi. Mr. Housley has obtained and is familiar With
the local rules and professional guidelines of this court. For
good cause shown, the motion is granted and William Wayne
Housley, Jr. is admitted to participate in this action as co-
counsel for plaintiff.

It is so ORDERED this /rf£iay of August, 2005.

J/W'M__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

